185 F.2d 407
    PARK-IN THEATRES, Inc., Appellantv.PARAMOUNT-RICHARDS THEATRES, Inc., Paramount-Richards Enterprises, Inc., Kennington-Richards Enterprises, Inc., Richards-Ehrlich Enterprises, Inc., Saenger Theatres of Texas, Inc., Capital Theatres, Inc., United Theatres, Inc.
    No. 10243.
    United States Court of Appeals Third Circuit.
    Argued November 17, 1950.
    Decided December 13, 1950.
    Rehearing Denied January 24, 1951.
    
      Appeal from the United States District Court for the District of Delaware; Richard Seymour Rodney, Judge.
      Leonard L. Kalish, Philadelphia, Pa., Arthur G. Connolly, Wilmington, Del., for appellant.
      Charles R. Fenwick, Washington, D. C., William S. Potter, Wilmington, Del. (James L. Latchum, Wilmington, Del., Thomas B. Van Poole, Jr., Washington, D. C., on the brief), for appellees.
      Before MARIS, McLAUGHLIN and STALEY, Circuit Judges.
      PER CURIAM.
    
    
      1
      This is an appeal from two orders of the district court. The first, entered May 1, 1950, dismissed the amended complaint as to two Louisiana defendants for want of proper venue and the second, entered May 31, 1950, granted defendants' motion for summary judgment as to the first cause of action stated in the amended complaint and dismissed the third cause of action stated therein. Our examination of the record satisfies us that the actions of the district court here appealed from were right. The reasons for its actions are fully set out in the three opinions filed by Judge Rodney on December 8, 1948, 81 F.Supp. 466, April 14, 1950, 90 F.Supp. 727 and May 8, 1950, 90 F.Supp. 730, with which we are in accord. It will serve no useful purpose to add to what is there so adequately stated.
    
    
      2
      The orders of the district court will be affirmed.
    
    